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                                   No. 1:24-cv-00173

                                     BrodTi Inc.,
                                       Plaintiff,
                                          v.
                                     Google LLC,
                                      Defendant.


                         N O T I C E O F C O U RT RO O M

               The hearing set for August 6, 2025, at 3:00 p.m. EDT will oc-
            cur in courtroom 6A of the federal courthouse in Wilmington,
            Delaware.
                                     So ordered by the court on April 29, 2025.



                                                J. C AM PB EL L B A RK ER
                                                United States District Judge




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